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                          Exhibit A
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                                                 The Man
                                          I would be complex
                                             I would be cool
                They'd say I played the ﬁeld before I found someone to commit to
                                        And that would be ok
                                               For me to do
                Every conquest I had made would make me more of a boss to you
                                        I'd be a fearless leader
                                          I'd be an alpha type
                                    When everyone believes ya
                                            What's that like?
                               I'm so sick of running as fast as I can
                                 Wondering if I'd get there quicker
                                              If I was a man
                           And I'm so sick of them coming at me again
                                         'Cause if I was a man
                                          Then I'd be the man
                                              I'd be the man
                                              I'd be the man
                                          They'd say I hustled
                                             Put in the work
             They wouldn't shake their heads and question how much of this I deserve
                                          What I was wearing
                                               If I was rude
                  Could all be separated from my good ideas and power moves?
                                  And they would toast to me, oh
                                          Let the players play
                                           I'd be just like Leo
                                             In Saint-Tropez
                               I'm so sick of running as fast as I can
                                 Wondering if I'd get there quicker
                                              If I was a man
                           And I'm so sick of them coming at me again
                                         'Cause if I was a man
                                          Then I'd be the man
                                              I'd be the man
                                              I'd be the man
                                     What's it like to brag about
                                            Raking in dollars
                                  And getting bitches and models
                                   And it's all good if you're bad
                                     And it's okay if you're mad
                                  If I was out ﬂashing my dollars
                                      I'd be a bitch, not a baller
                                    They paint me out to be bad
                                      So it's okay that I'm mad

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                               I'm so sick of running as fast as I can
               Wondering if I'd get there quicker if I was a man (you know that)
               And I'm so sick of them coming at me again (coming at me again)
                              'Cause if I was a man (if I was a man)
                           Then I'd be the man (then I'd be the man)
                     I'm so sick of running as fast as I can (as fast as I can)
                    Wondering if I'd get there quicker if I was a man (hey)
               And I'm so sick of them coming at me again (coming at me again)
                  'Cause if I was a man (if I was a man), then I'd be the man
                                            I'd be the man
                                         I'd be the man (oh)
                                       I'd be the man (yeah)
                                  I'd be the man (I'd be the man)
                                            If I was a man
                                        Then I'd be the man




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                                     My Tears Ricochet

                                   We gather here, we line up
                                  Weepin' in a sunlit room, and
                          If I'm on fire, you'll be made of ashes too
                         Even on my worst day, did I deserve, babe
                                    All the hell you gave me?
                           'Cause I loved you, I swear I loved you
                                        'Til my dying day
                          I didn't have it in myself to go with grace
                       And you're the hero flying around, saving face
                      And if I'm dead to you, why are you at the wake?
                              Cursing my name, wishing I stayed
                                 Look at how my tears ricochet
                     We gather stones, never knowing what they'll mean
                        Some to throw, some to make a diamond ring
                        You know I didn't want to have to haunt you
                                    But what a ghostly scene
                          You wear the same jewels that I gave you
                                         As you bury me
                          I didn't have it in myself to go with grace
                    'Cause when I'd fight, you used to tell me I was brave
                      And if I'm dead to you, why are you at the wake?
                              Cursing my name, wishing I stayed
                                 Look at how my tears ricochet
                                 And I can go anywhere I want
                                Anywhere I want, just not home
                         And you can aim for my heart, go for blood
                         But you would still miss me in your bones
                    And I still talk to you (when I'm screaming at the sky)
                And when you can't sleep at night (you hear my stolen lullabies)
                          I didn't have it in myself to go with grace
                      And so the battleships will sink beneath the waves
                      You had to kill me, but it killed you just the same
                              Cursing my name, wishing I stayed
                                You turned into your worst fears
                      And you're tossing out blame, drunk on this pain
                                   Crossing out the good years
                       And you're cursing my name, wishing I stayed
                                 Look at how my tears ricochet




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                                      Invisible String

                              Green was the color of the grass
                           Where I used to read at Centennial Park
                        I used to think I would meet somebody there
                               Teal was the color of your shirt
                          When you were sixteen at the yogurt shop
                         You used to work at to make a little money
                                      Time, curious time
                          Gave me no compasses, gave me no signs
                                Were there clues I didn't see?
                              And isn't it just so pretty to think
                                   All along there was some
                                        Invisible string
                                       Tying you to me?
                                              Ooh
                           Bad was the blood of the song in the cab
                                    On your first trip to LA
                            You ate at my favorite spot for dinner
                         Bold was the waitress on our three year trip
                              Getting lunch down by the lakes
                          She said I looked like an American singer
                                      Time, mystical time
                            Cuttin' me open, then healin' me fine
                                Were there clues I didn't see?
                              And isn't it just so pretty to think
                                   All along there was some
                                        Invisible string
                                       Tying you to me?
                                              Ooh
                                    A string that pulled me
                      Out of all the wrong arms right into that dive bar
                  Something wrapped all of my past mistakes in barbed wire
                    Chains around my demons, wool to brave the seasons
                           One single thread of gold tied me to you
                            Cold was the steel of my axe to grind
                              For the boys who broke my heart
                              Now I send their babies presents
                              Gold was the color of the leaves
                        When I showed you around Centennial Park
                       Hell was the journey but it brought me heaven
                                     Time, wondrous time
                       Gave me the blues and then purple pink skies
                                 And it's cool, baby, with me
                              And isn't it just so pretty to think
                                   All along there was some

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                                   Invisible string
                                  Tying you to me?
                                         Ooh
                                         Hee
                                         Ooh




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                                           Hoax

                                        My only one
                                     My smoking gun
                                      My eclipsed sun
                                 This has broken me down
                                     My twisted knife
                                     My sleepless night
                                     My win-less fight
                                This has frozen my ground
                                   Stood on the cliffside
                              Screaming, "Give me a reason"
                            Your faithless love's the only hoax
                                         I believe in
                             Don't want no other shade of blue
                                           But you
                          No other sadness in the world would do
                                     My best laid plan
                                    Your sleight of hand
                                      My barren land
                                  I am ash from your fire
                                   Stood on the cliffside
                              Screaming "Give me a reason"
                            Your faithless love's the only hoax
                                         I believe in
                             Don't want no other shade of blue
                                           But you
                          No other sadness in the world would do
                       You know I left a part of me back in New York
                      You knew the hero died, so what's the movie for?
                         You knew it still hurts underneath my scars
                             From when they pulled me apart
                       You knew the password, so I let you in the door
                   You knew you won, so what's the point of keeping score?
                         You knew it still hurts underneath my scars
                             From when they pulled me apart
                             But what you did was just as dark
                               Darling, this was just as hard
                               As when they pulled me apart
                                        My only one
                                My kingdom come undone
                                     My broken drum
                                You have beaten my heart
                             Don't want no other shade of blue
                                           But you
                          No other sadness in the world would do

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                                      Illicit Affairs

                             Make sure nobody sees you leave
                        Hood over your head, keep your eyes down
                           Tell your friends you're out for a run
                             You'll be flushed when you return
                                Take the road less traveled by
                             Tell yourself you can always stop
                               What started in beautiful rooms
                             Ends with meetings in parking lots
                          And that's the thing about illicit affairs
                        And clandestine meetings and longing stares
                            It's born from just one single glance
                              But it dies, and it dies, and it dies
                                     A million little times
                               Leave the perfume on the shelf
                               That you picked out just for him
                                 So you leave no trace behind
                                   Like you don't even exist
                              Take the words for what they are
                                 A dwindling, mercurial high
                                   A drug that only worked
                                 The first few hundred times
                          And that's the thing about illicit affairs
                        And clandestine meetings and stolen stares
                           They show their truth one single time
                           But they lie, and they lie, and they lie
                                     A million little times
                                    And you wanna scream
                                      Don't call me "kid"
                                     Don't call me "baby"
                      Look at this godforsaken mess that you made me
                                    You showed me colors
                          You know I can't see with anyone else
                                      Don't call me "kid"
                                     Don't call me "baby"
                         Look at this idiotic fool that you made me
                              You taught me a secret language
                                I can't speak with anyone else
                                  And you know damn well
                                 For you, I would ruin myself
                                     A million little times




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                                           Willow

                    I'm like the water when your ship rolled in that night
                    Rough on the surface but you cut through like a knife
                                And if it was an open-shut case
                    I never would've known from that look on your face
                           Lost in your current like a priceless wine
                                     The more that you say
                                        The less I know
                                      Wherever you stray
                                            I follow
                             I'm begging for you to take my hand
                                        Wreck my plans
                                         That's my man
                    Life was a willow and it bent right to your wind (oh)
                       Head on the pillow, I could feel you sneaking in
                                As if you were a mythical thing
                          Like you were a trophy or a champion ring
                           And there was one prize I'd cheat to win
                                     The more that you say
                                        The less I know
                                      Wherever you stray
                                            I follow
                             I'm begging for you to take my hand
                                        Wreck my plans
                                         That's my man
                        You know that my train could take you home
                                   Anywhere else is hollow
                             I'm begging for you to take my hand
                                        Wreck my plans
                                         That's my man
                    Life was a willow and it bent right to your wind (oh)
                            They count me out time and time again
                    Life was a willow and it bent right to your wind (oh)
                          But I come back stronger than a 90's trend
                        Wait for the signal and I'll meet you after dark
                    Show me the places where the others gave you scars
                                 Now this is an open-shut case
                    Guess I should've known from the look on your face
                           Every bait and switch was a work of art
                                     The more that you say
                                        The less I know
                                      Wherever you stray
                                            I follow
                             I'm begging for you to take my hand
                                        Wreck my plans

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                                      That's my man
                        You know that my train could take you home
                                 Anywhere else is hollow
                           I'm begging for you to take my hand
                                      Wreck my plans
                                      That's my man
                                  The more that you say
                                      The less I know
                                    Wherever you stray
                                          I follow
                             Begging for you to take my hand
                                      Wreck my plans
                                      That's my man
                        You know that my train could take you home
                                 Anywhere else is hollow
                             Begging for you to take my hand
                                      Wreck my plans
                                      That's my man
                                    Hey, that's my man
                                      That's my man
                                   Yeah, that's my man
                          Every bait and switch was a work of art
                                      That's my man
                                    Hey, that's my man
                           I'm begging for you to take my hand
                                      Wreck my plans
                                      That's my man




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                                 Right Where You Left Me

                             Friends break up, friends get married
                            Strangers get born, strangers get buried
                        Trends change, rumors fly through new skies
                                 But I'm right where you left me
                                  Matches burn after the other
                                Pages turn and stick to each other
                               Wages earned and lessons learned
                                But I, I'm right where you left me
                                 Help, I'm still at the restaurant
                                 Still sitting in a corner I haunt
                                  Cross-legged in the dim light
                                  They say, "What a sad sight"
                           I, I swear you could hear a hair pin drop
                               Right when I felt the moment stop
                               Glass shattered on the white cloth
                                       Everybody moved on
                                          I, I stayed there
                              Dust collected on my pinned-up hair
                             They expected me to find somewhere
                             Some perspective, but I sat and stared
                                     Right where you left me
                               You left me no, oh, you left me no
                        You left me no choice but to stay here forever
                       You left me, you left me no, oh, you left me no
                        You left me no choice but to stay here forever
                       Did you ever hear about the girl who got frozen?
                     Time went on for everybody else, she won't know it
                                 She's still 23 inside her fantasy
                                   How it was supposed to be
                      Did you hear about the girl who lives in delusion?
                    Break-ups happen every day, you don't have to lose it
                                 She's still 23 inside her fantasy
                                And you're sitting in front of me
                     At the restaurant, when I was still the one you want
                    Cross-legged in the dim light, everything was just right
                                 I, I could feel the mascara run
                               You told me that you met someone
                               Glass shattered on the white cloth
                                       Everybody moved on
                                 Help, I'm still at the restaurant
                                 Still sitting in a corner I haunt
                                  Cross-legged in the dim light
                                  They say, "What a sad sight"
                                          I, I stayed there

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                             Dust collected on my pinned-up hair
                             I'm sure that you got a wife out there
                            Kids and Christmas, but I'm unaware
                                     'Cause I'm right where
                              I cause no harm, mind my business
                         If our love died young, I can't bear witness
                                      And it's been so long
                            But if you ever think you got it wrong
                                  I'm right where you left me
                               You left me no, oh, you left me no
                        You left me no choice but to stay here forever
                                          You left me
                               You left me no, oh, you left me no
                        You left me no choice but to stay here forever




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                                        It’s Time to Go

                        When the dinner is cold and the chatter gets old
                                       You ask for the tab
                       Or that moment again, he's insisting that friends
                                   Look at each other like that
                    … When the words of a sister come back in whispers
                                     That prove she was not
                    In fact what she seemed, not a twin from your dreams
                                 She's a crook who was caught
                                … That old familiar body ache
                      The snaps from the same little breaks in your soul
                                You know when it's time to go
                      Twenty years at your job, then the son of the boss
                                  Gets the spot that was yours
                    Or trying to stay for the kids, when keeping it how it is
                               Will only break their hearts worse
                                … That old familiar body ache
                      The snaps from the same little breaks in your soul
                                You know when it's time to go
                          … Sometimes, givin' up is the strong thing
                              Sometimes, to run is the brave thing
                            Sometimes, walkin' out is the one thing
                               That will find you the right thing
                            Sometimes, givin' up is the strong thing
                              Sometimes, to run is the brave thing
                            Sometimes, walkin' out is the one thing
                               That will find you the right thing
                             … Fifteen years, fifteen million tears
                                   Begging 'til my knees bled
                           I gave it my all, he gave me nothin' at all
                                    Then wondered why I left
                      … Now he sits on his throne in his palace of bones
                                       Praying to his greed
                             He's got my past frozen behind glass
                                         But I've got me
                                … That old familiar body ache
                       The snaps from the same little breaks in my soul
                                   I know when it's time to go
                          … Sometimes, givin' up is the strong thing
                              Sometimes, to run is the brave thing
                            Sometimes, walkin' out is the one thing
                               That will find you the right thing
                            Sometimes, givin' up is the strong thing
                              Sometimes, to run is the brave thing



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                          Sometimes, walkin' out is the one thing
                             That will find you the right thing
                           … That will find you the right thing
                                 And you know in your soul
                                 And you know in your soul
                                    When it's time to go
                   … And, well, you know, you know, you know, you know
                                    When it's time to go
                                      So then you go
                                      And then you go
                                        You just go




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                                     Midnight Rain

                               Rain, he wanted it comfortable
                                       I wanted that pain
                                       He wanted a bride
                                I was making my own name
                                       Chasing that fame
                                      He stayed the same
                              All of me changed like midnight
                                 My town was a wasteland
                                 Full of cages, full of fences
                            Pageant queens and big pretenders
                                But for some, it was paradise
                                   My boy was a montage
                                A slow-motion, love potion
                              Jumping off things in the ocean
                            I broke his heart 'cause he was nice
                           He was sunshine, I was midnight rain
                                  He wanted it comfortable
                                       I wanted that pain
                                       He wanted a bride
                                I was making my own name
                                       Chasing that fame
                                      He stayed the same
                              All of me changed like midnight
                                    It came like a postcard
                                Picture perfect, shiny family
                                 Holiday, peppermint candy
                                  But for him it's every day
                               So I peered through a window
                                  A deep portal, time travel
                                   All the love we unravel
                                  And the life I gave away
                                   'Cause he was sunshine
                                      I was midnight rain
                                  He wanted it comfortable
                                       I wanted that pain
                                       He wanted a bride
                                I was making my own name
                                       Chasing that fame
                                      He stayed the same
                                       All of me changed
                                         Like midnight
                               Rain, he wanted it comfortable
                                       I wanted that pain
                                       He wanted a bride

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                                I was making my own name
                                     Chasing that fame
                                     He stayed the same
                                     All of me changed
                                       Like midnight
                                I guess sometimes we all get
                         Just what we wanted, just what we wanted
                                 And he never thinks of me
                                   Except when I'm on TV
                                I guess sometimes we all get
                        Some kind of haunted, some kind of haunted
                                  And I never think of him
                      Except on midnights like this (midnights like this)




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                               Who’s Afraid of Little Old Me?

                   … The who's who of "Who's that?" is poised for the attack
                               But my bare hands paved their paths
                                You don't get to tell me about sad
                        … If you wanted me dead, you should've just said
                                Nothing makes me feel more alive
                  … So I leap from the gallows and I levitate down your street
                         Crash the party like a record scratch as I scream
                                 "Who's afraid of little old me?"
                                           You should be
                                  … The scandal was contained
                                     The bullet had just grazed
                                At all costs, keep your good name
                               You don't get to tell me you feel bad
                       … Is it a wonder I broke? Let's hear one more joke
                             Then we could all just laugh until I cry
                  … So I leap from the gallows and I levitate down your street
                         Crash the party like a record scratch as I scream
                                 "Who's afraid of little old me?"
                    I was tame, I was gentle 'til the circus life made me mean
                        "Don't you worry, folks, we took out all her teeth"
                                  Who's afraid of little old me?
                                        Well, you should be
                                         … You should be
                                 (You should be) You should be
                                 You should be (you should be)
                                 You should be (you should be)
                                           You should be
                            … So tell me everything is not about me
                                          But what if it is?
                               Then say they didn't do it to hurt me
                                        But what if they did?
               … I wanna snarl and show you just how disturbed this has made me
                 You wouldn't last an hour in the asylum where they raised me
                  So all you kids can sneak into my house with all the cobwebs
                I'm always drunk on my own tears, isn't that what they all said?
                             That I'll sue you if you step on my lawn
                       That I'm fearsome and I'm wretched and I'm wrong
                              Putting narcotics into all of my songs
                             And that's why you're still singing along
                  … So I leap from the gallows and I levitate down your street
                         Crash the party like a record scratch as I scream
                                 "Who's afraid of little old me?"
                    I was tame, I was gentle 'til the circus life made me mean
                        "Don't you worry, folks, we took out all her teeth"

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                               Who's afraid of little old me?
                                   Well, you should be
                                    … You should be
                              (You should be) You should be
                          'Cause you lured me (you should be)
                             And you hurt me (you should be)
                                   And you taught me
                       … You caged me and then you called me crazy
                          I am what I am 'cause you trained me
                                 So who's afraid of me?
                               Who's afraid of little old me?
                               Who's afraid of little old me?




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                                Death By A Thousand Cuts

                         Saying goodbye is death by a thousand cuts
                                   Flashbacks waking me up
                                I get drunk, but it's not enough
                      'Cause the morning comes and you're not my baby
                           I look through the windows of this love
                               Even though we boarded them up
                                Chandelier's still flickering here
                          'Cause I can't pretend it's ok when it's not
                                  It's death by a thousand cuts

                                    I dress to kill my time
                                  I take the long way home
                           I ask the traffic lights if it'll be all right
                                   They say, "I don't know"
                          And what once was ours is no one's now
                                     I see you everywhere
                                   The only thing we share
                                       Is this small town

                                You said it was a great love
                                     One for the ages
                                  But if the story's over
                                Why am I still writing pages?

                      'Cause saying goodbye is death by a thousand cuts
                                   Flashbacks waking me up
                                I get drunk, but it's not enough
                      'Cause the morning comes and you're not my baby
                           I look through the windows of this love
                               Even though we boarded them up
                                Chandelier still flickering here
                         'Cause I can't pretend it's okay when it's not
                                  It's death by a thousand cuts

                            My heart, my hips, my body, my love
                       Trying to find a part of me that you didn't touch
                            Gave up on me like I was a bad drug
                        Now I'm searching for signs in a haunted club
                            Our songs, our films, united we stand
                           Our country, guess it was a lawless land
                         Quiet my fears with the touch of your hand
                          Paper cut stings from our paper thin plans

                           My time, my wine, my spirit, my trust
                        Trying to find a part of me you didn't take up

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                           Gave you too much but it wasn't enough
                          But I'll be all right, it's just a thousand cuts

                                  I get drunk but it's not enough
                                    'Cause you're not my baby
                            I look through the windows of this love
                                Even though we boarded them up
                                 Chandelier's still flickering here
                           'Cause I can't pretend it's ok when it's not
                                            No, it's not

                       It's death by a thousand cuts (you didn't touch)
                       Trying to find a part of me that you didn't touch
                   My body, my love, my trust (it's death by a thousand cuts)
                        But it wasn't enough, it wasn't enough, no, no

                                   I take the long way home
                            I ask the traffic lights if it'll be all right
                                    They say, "I don't know"




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                                               Robin

                                       Long may you reign
                                        You're an animal
                                       You are bloodthirsty
                              Out window panes talking utter nonsense
                                        You have no idea

                                       Strings tied to levers,
                                   slowed down clocks tethered,
                                       all this showmanship
                                        To keep it, for you,
                                            In sweetness
                                           Way to go tiger
                                         Higher and higher
                                        Wilder and lighter
                                               For you

                                        Long may you roar
                                        At your dinosaurs
                                         You're a just ruler
                                Covered in mud, you look ridiculous
                                      And you have no idea

        Buried down deep and out of your reach, the secret we all vowed to keep it, from you,
                                           In sweetness
                                         Way to go tiger
                                        Higher and higher
                                        Wilder and lighter
                                              For you

                               You got the dragonflies above your bed
                              You have a favorite spot on the swing set
                           You have no room in your dreams for regrets
                                          You have no idea
                          The time will arrive for the cruel and the mean
                        You'll learn to bounce back just like your trampoline
                                 But now we'll curtail your curiosity
                                            In sweetness
                                           Way to go, Tiger
                                          Higher and higher
                                          Wilder and lighter
                                               For you




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                                      The Great War

                            My knuckles were bruised like violets
                      Sucker punching walls, cursed you as I sleep-talked
                               Spineless in my tomb of silence
                     Tore your banners down, took the battle underground
                               And maybe it was ego swinging
                                       Maybe it was her
                        Flashes of the battle come back to me in a blur

                             All that bloodshed, crimson clover
                              Uh-huh, sweet dream was over
                            My hand was the one you reached for
                               All throughout the Great War
                                      Always remember
                                  Uh-huh, tears on the letter
                                I vowed not to cry anymore
                               If we survived the Great War

                            You drew up some good faith treaties
                      I drew curtains closed, drank my poison all alone
                              You said I have to trust more freely
                        But diesel is desire, you were playin' with fire
                             And maybe it's the past that's talkin'
                                   Screamin' from the crypt
                      Tellin' me to punish you for things you never did
                                        So I justified it

                             All that bloodshed, crimson clover
                             Uh-huh, the bombs were close and
                            My hand was the one you reached for
                               All throughout the Great War
                                      Always remember
                                Uh-huh, the burning embers
                               I vowed not to fight anymore
                               If we survived the Great War

                                           Uh-huh
                                           Uh-huh

                             It turned into something bigger
                     Somewhere in the haze, got a sense I'd been betrayed
                            Your finger on my hair pin triggers
                             Soldier down on that icy ground
                          Looked up at me with honor and truth
                         Broken and blue, so I called off the troops


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                             That was the night I nearly lost you
                                  I really thought I lost you

                               We can plant a memory garden
                       Say a solemn prayer, place a poppy in my hair
                      There's no morning glory, it was war, it wasn't fair
                                 And we will never go back

                             To that bloodshed, crimson clover
                                 Uh-huh, the worst was over
                            My hand was the one you reached for
                                All throughout the Great War
                                      Always remember
                               Uh-huh, we're burned for better
                              I vowed I would always be yours
                             'Cause we survived the Great War

                                           Uh-huh
                                           Uh-huh
                                   I would always be yours
                              'Cause we survived the Great War
                                           Uh-huh
                               I vowed I would always be yours




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                                         Cardigan

                               Vintage tee, brand new phone
                                High heels on cobblestones
                     When you are young, they assume you know nothing
                                Sequin smile, black lipstick
                                     Sensual politics
                     When you are young, they assume you know nothing

                                     But I knew you
                                   Dancin' in your Levis
                                Drunk under a streetlight, I
                                        I knew you
                                 Hand under my sweatshirt
                                   Baby, kiss it better, I
                         And when I felt like I was an old cardigan
                                   Under someone's bed
                         You put me on and said I was your favorite

                             A friend to all is a friend to none
                               Chase two girls, lose the one
                     When you are young, they assume you know nothin'

                                      But I knew you
                                 Playing hide-and-seek and
                               Giving me your weekends, I
                                        I knew you
                              Your heartbeat on the High Line
                                   Once in 20 lifetimes, I
                         And when I felt like I was an old cardigan
                                   Under someone's bed
                         You put me on and said I was your favorite

                             To kiss in cars and downtown bars
                                     Was all we needed
                              You drew stars around my scars
                                    But now I'm bleedin'

                                    'Cause I knew you
                                 Steppin' on the last train
                               Marked me like a bloodstain, I
                                        I knew you
                                Tried to change the ending
                                   Peter losing Wendy, I
                                        I knew you
                                    Leavin' like a father


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                                   Running like water, I
                   And when you are young, they assume you know nothing

                           But I knew you'd linger like a tattoo kiss
                             I knew you'd haunt all of my what-ifs
                       The smell of smoke would hang around this long
                         'Cause I knew everything when I was young
                           I knew I'd curse you for the longest time
                              Chasin' shadows in the grocery line
                         I knew you'd miss me once the thrill expired
                        And you'd be standin' in my front porch light

                             And I knew you'd come back to me
                                   You'd come back to me
                                And you'd come back to me
                                    And you'd come back

                         And when I felt like I was an old cardigan
                                  Under someone's bed
                         You put me on and said I was your favorite




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                                        Clara Bow

                           "You look like Clara Bow in this light
                                          Remarkable
                                 All your life, did you know
                                You'd be picked like a rose"
                                "I'm not trying to exaggerate
                            But I think I might die if it happened
                                   Die if it happened to me
                             No one in my small town thought
                              I'd see the lights of Manhattan"
                                    "This town is fake but
                                     You're the real thing
                          Breath of fresh air through smoke rings
                              Take the glory, give everything
                                   Promise to be dazzling"
                                "You look like Stevie Nicks
                                   In '75, the hair and lips
                             Crowd goes wild at her fingertips
                              Half moonshine, a full eclipse"
                                "I'm not trying to exaggerate
                             But I think I might die if I made it,
                                        Die if I made it
                                  No one in my small town
                            Thought I'd meet these suits in LA,
                                   They all want to say ..."
                                    "This town is fake but
                                     You're the real thing
                          Breath of fresh air through smoke rings
                              Take the glory, give everything
                                   Promise to be dazzling"
                       "The crown is stained but you're the real queen
                          Flesh and blood amongst war machines
                          You're the new god we're worshipping
                                  Promise to be ... dazzling"
                                 Beauty is a beast that roars
                                      Down on all fours
                                     Demanding "more"
                                Only when your girlish glow
                                        Flickers just so
                                    Do they let you know
                              It's hell on earth to be heavenly
                                      Them's the breaks
                                   They don't come gently
                                "You look like Taylor Swift
                                          In this light

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                                    We're loving it.
                              You've got edge she never did
                                   The future's bright
                                      ... Dazzling."




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                                       Guilty as Sin?

                                  Drowning in the Blue Nile
                               He sent me 'Downtown Lights'
                                  I hadn't heard it in a while
                                   My boredom's bone deep
                                 This cage was once just fine
                                      Am I allowed to cry?
                                   I dream of cracking locks
                               Throwing my life to the wolves
                                       Or the ocean rocks
                                   Crashing into him tonight
                                          He's a paradox
                                I'm seeing visions, am I bad?
                                       Or mad? Or wise?
                        What if he's written 'mine' on my upper thigh
                                       Only in my mind?
                        One slip and falling back into the hedge maze
                                      Oh what a way to die
                            I keep recalling things we never did
                                        Messy top lip kiss
                                   How I long for our trysts
                               Without ever touching his skin
                                 How can I be guilty as sin?
                                I keep these longings locked
                                  In lowercase inside a vault
                                        Someone told me
                           There's no such thing as bad thoughts
                                     Only your actions talk
                                      These fatal fantasies
                                Giving way to labored breath
                                        Taking all of me
                              We've already done it in my head
                                       If it's make believe
                                 Why does it feel like a vow
                                We'll both uphold somehow?
                        What if he's written 'mine' on my upper thigh
                                       Only in my mind?
                        One slip and falling back into the hedge maze
                                      Oh what a way to die
                                    My bedsheets are ablaze
                                    I've screamed his name
                                     Building up like waves
                                    Crashing over my grave
                               Without ever touching his skin
                                 How can I be guilty as sin?

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                                What if I roll the stone away?
                             They're gonna crucify me anyway
                                What if the way you hold me
                                    Is actually what's holy?
                                  If long suffering propriety
                                 Is what they want from me
                         They don't know how you've haunted me
                                          So stunningly
                                      I choose you and me
                                          ... Religiously
                        What if he's written 'mine' on my upper thigh
                                        Only in my mind?
                        One slip and falling back into the hedge maze
                                     Oh what a way to die
                            I keep recalling things we never did
                                        Messy top lip kiss
                                   How I long for our trysts
                               Without ever touching his skin
                                 How can I be guilty as sin?
                               He sent me 'Downtown Lights'
                                  I hadn't heard it in a while
                                     Am I allowed to cry?




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                                          Down Bad

                                   Did you really beam me up?
                                    In a cloud of sparkling dust
                                     Just to do experiments on
                                  Tell me I was the chosen one
                          Show me that this world is bigger than us
                            Then sent me back where I came from
                               For a moment I knew cosmic love
                             Now I'm down bad crying at the gym
                           Everything comes out teenage petulance
                                     "What if I can't have him"
                       "I might just die, it would make no difference."
                                Down bad, waking up in blood
                        Staring at the sky, come back and pick me up
                                      What if I can't have us.
                                       I might just not get up
                                       I might stay down bad
                                      What if I can't have him
                                             Down bad
                                      What if I can't have him
                                Did you take all my old clothes?
                             Just to leave me here naked and alone
                                 In a field in my same old town
                             That somehow seems so hollow now
                    They'll say I'm nuts if I talk about the existence of you
                               For a moment I was heaven struck
                             Now I'm down bad crying at the gym
                           Everything comes out teenage petulance
                                     "What if I can't have him"
                       "I might just die, it would make no difference."
                                Down bad, waking up in blood
                        Staring at the sky, come back and pick me up
                                      What if I can't have us.
                                       I might just not get up
                                       I might stay down bad
                                         Like I lost my twin
                                      What if I can't have him
                                             Down bad
                                             Down bad
                                         Waving at the ship
                                      What if I can't have him
                                  I loved your hostile takeovers
                                   Encounters closer and closer
                                   All your indecent exposures
                                    How dare you say that it's -

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                              I'll build you a fort on some planet
                                Where they can all understand it
                               How dare you think it's romantic
                                  Leaving me safe and stranded
                                   Cause what if I was in love
                                     What if I can't have us.
                                   Cause what if I was in love
                            Now I'm down bad crying at the gym
                           Everything comes out teenage petulance
                                    "What if I can't have him"
                       "I might just die, it would make no difference."
                                 Down bad, waking up in blood
                        Staring at the sky, come back and pick me up
                                     What if I can't have us.
                                      I might just not get up
                                     I might stay down bad
                                        Like I lost my twin
                                     What if I can't have him
                                            Down bad
                                            Down bad
                                        Waving at the ship
                                     What if I can't have him
                                        Like I lost my twin
                                     What if I can't have him
                                            Down bad
                                        Waving at the ship
                                     What if I can't have him




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                                       Long Story Short

                                               Fatefully
                       I tried to pick my battles 'til the battle picked me
                                                Misery
                          Like the war of words I shouted in my sleep
                                      And you passed right by
                            I was in the alley, surrounded on all sides
                                      The knife cuts both ways
                      If the shoe fits, walk in it 'til your high heels break
                                     And I fell from the pedestal
                                     Right down the rabbit hole
                                 Long story short, it was a bad time
                                     Pushed from the precipice
                                      Clung to the nearest lips
                              Long story short, it was the wrong guy
                                       Now I'm all about you
                                        I'm all about you, ah
                                              Yeah, yeah
                                        I'm all about you, ah
                                              Yeah, yeah
                                               Actually
                        I always felt I must look better in the rear view
                                             Missing me
                         At the golden gates they once held the keys to
                                     When I dropped my sword
                      I threw it in the bushes and knocked on your door
                                        And we live in peace
                                     But if someone comes at us
                                        This time, I'm ready
                                   'Cause I fell from the pedestal
                                     Right down the rabbit hole
                                 Long story short, it was a bad time
                                     Pushed from the precipice
                                      Clung to the nearest lips
                              Long story short, it was the wrong guy
                                       Now I'm all about you
                                        I'm all about you, ah
                                              Yeah, yeah
                                          I'm all about you
                                     No more keepin' score now
                              I just keep you warm (keep you warm)
                                      No more tug of war now
                          I just know there's more (know there's more)
                                     No more keepin' score now
                              I just keep you warm (keep you warm)

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                                 And my waves meet your shore
                                        Ever and evermore
                                              Past me
                      I wanna tell you not to get lost in these petty things
                                           Your nemeses
                   Will defeat themselves before you get the chance to swing
                                       And he's passing by
                           Rare as the glimmer of a comet in the sky
                                      And he feels like home
                         If the shoe fits, walk in it everywhere you go
                                   And I fell from the pedestal
                                    Right down the rabbit hole
                               Long story short, it was a bad time
                                    Pushed from the precipice
                                 Climbed right back up the cliff
                                   Long story short, I survived
                                Now I'm all about you (and now)
                                 I'm all about you, ah (and now)
                                   I'm all about you (and now)
                                       I'm all about you, ah
                                            Yeah, yeah
                                   I'm all about you (and now)
                                            Yeah, yeah
                                         I'm all about you
                               Long story short, it was a bad time
                                   Long story short, I survived




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